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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

ABU SAMURA,                         *
                                    *
             Plaintiff,             *
                                    *
v.                                  * Civil Case No.: 1:20-cv-02095-SAG
                                    *
SAVASENIORCARE ADMINISTRATIVE *
SERVICES, LLC, ET AL.,              *
                                    *
             Defendants.            *
____________________________________/

                   MEMORANDUM IN SUPPORT OF
         DEFENDANTS’ MOTION TO DISMISS OR STAY THE CASE
   AND COMPEL ARBITRATION, AND FOR AN AWARD OF ATTORNEYS’ FEES

        Defendants, SavaSeniorCare Administrative Services, LLC (“Administrative Services,

LLC”) and SSC Catonsville Operating Company, LLC (“SSC Catonsville”), by and through their

attorneys, move the Court to dismiss or stay the case and compel Plaintiff, Abu Samura, to submit

his claims to arbitration. Defendants also move the Court for an award of attorneys’ fees as a

sanction for Plaintiff’s lack of justification for his refusal to arbitrate. As explained below, Plaintiff

agreed to submit any claims concerning Plaintiff’s employment or separation from employment to

binding arbitration and the obligation to arbitrate was mutually binding, and therefore, his refusal

to submit his claims to arbitration has no arguable basis in law. Accordingly, all claims asserted

in this action should be compelled into arbitration pursuant to 9 U.S.C. §§ 3 and 4 and the

proceeding in this Court dismissed, or in the alternative, stayed pending the resolution of the

arbitration, and Defendants should be awarded their attorneys’ fees incurred in connection with

this Motion.




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  I.   RELEVANT FACTS

       Plaintiff is a former Registered Nurse at SSC Catonsville, a health and rehabilitation

facility located in Catonsville, Maryland. Complaint ¶ 4. His lawsuit against SSC Catonsville

asserts claims related to his employment with SSC Catonsville (i.e., Count I, alleging failure to

accommodate under the Americans with Disabilities Act (“ADA”), and Count IV, alleging

interference with the Family and Medical Leave Act (“FMLA”)) and Plaintiff’s separation from

employment (i.e., Count II, alleging discriminatory discharge under the ADA, Count III, alleging

gender discrimination under Title VII of the Civil Rights Act of 1964, and Count V, alleging

retaliation under the FMLA). Plaintiff claims that Defendants together committed these wrongs

and violated his legal rights. Complaint ¶ 36.

       Plaintiff twice signed agreements obligating him to submit all claims arising from his

employment or separation from employment to arbitration.

       The first agreement obligating Plaintiff to arbitrate his claims was signed when Plaintiff

applied for employment with SSC Catonsville. At that time, he signed an “Employment Dispute

Resolution (‘EDR’) Program Agreement” which clearly explained that mandatory arbitration of

employment claims was a condition of employment. See Exhibit 1, Affidavit of Megan Pollock,

¶ 3 and Exhibit 1 thereto.

       At the top of this EDR Program Agreement, in a text box and in bold print, the EDR

Program steps were explained: a series of four steps to resolve employment suits culminating in

arbitration. The text box concluded with the following sentence:

       If you wish to be considered for employment, you must read and sign the
       following agreement binding you to use the EDR program to resolve all
       disputes. An EDR Program booklet describing the program in detail is
       available where you obtained this Application.




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Id., Exhibit 1 (emphasis in original). The text below recited that both Plaintiff and SSC Catonsville

mutually agreed “to resolve all claims, controversies or disputes related to my application for

employment, my employment and/or termination of my employment.” Id., Exhibit 1, paragraph

1. The document further confirmed the following understanding and agreement:

       I understand and agree that the last step of the EDR Program is final and binding
       arbitration by a neutral arbitrator. I understand and agree that this mutual
       agreement to use the EDR Program and to arbitrate claims means that the Facility
       and I are bound to use the EDR Program as the only means of resolving
       employment related disputes and forego any right either may have to a jury trial. I
       further understand and agree that if I file a lawsuit regarding a dispute arising
       out of or relating to my application for employment, my employment, or the
       termination of my employment, the Facility may use this Agreement in
       support of its request to the court to dismiss the lawsuit and require me to use
       the EDR Program instead.

Id., Exhibit 1, paragraph 2 (emphasis added).

       Thereafter, at the time of hire, Plaintiff signed an Acknowledgment that he had received

the EDR Program Booklet and that he understood that he was “bound to resolve my employment

related disputes as described within the booklet.” Id., ¶ 4, Exhibit 2 thereto. In fact, the

Acknowledgment is the last page of the EDR Booklet. Id., Exhibit 3 thereto.

       The EDR Program Booklet of which Plaintiff acknowledged receipt stated:

       Your decision to accept employment or to continue employment with the Company
       constitutes your agreement to be bound by the EDR Program. Likewise, the
       Company agrees to be bound by the EDR Program. This mutual agreement to
       arbitrate claims means that both you and the Company are bound to use the EDR
       Program as the only means of resolving employment related disputes and to forego
       any right either may have to a jury trial on issues covered by the EDR Program.

Id., Exhibit 3 thereto, page 1, paragraph 4.1




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  The EDR Program Booklet was prepared by Administrative Services, LLC, the entity which
provided various support services, including employment-related support services, to SSC
Catonsville. The EDR Program Booklet is made available for use by various affiliated operating
companies, like SSC Catonsville, who employ the individuals working at each facility. The EDR
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       The EDR Program provided for a graduated four-step process for resolving all

employment-related disputes, with arbitration as the final, exclusive step to resolve disputes: “If

the parties cannot mutually resolve the dispute in the first three steps, the Company has agreed to

submit the dispute to an outside, impartial arbitrator and to accept the decision of the arbitrator as

final and binding.” Id., Exhibit 3, page 1.

       The EDR Booklet also included a “Q&A” section that further emphasized, in easily

understood terms, that arbitration of claims was required:

       Q: If I don’t want to go through Mediation or Arbitration, can I go to court?

       A: No. By choosing to work at the Company or remaining employed with the
       Company, you have agreed to not go to court for issues covered by the EDR
       Program. Similarly, the Company has agreed to be bound by the EDR Program. If
       you attempt to take a dispute to court, the Company will seek to enforce the
       EDR Program and remove it from the court system.

Id., Exhibit 3, page 11 (emphasis added).

       Nowhere within the Employment Dispute Resolution Program Agreement or in the EDR

Program Booklet did SSC Catonsville reserve to itself the right to change the program or forego

the process. In fact, the EDR Program Booklet stated, “The EDR Program remains in effect for

the length of your employment and continues in effect should your employment end.” Id.,

Exhibit 3, page 3 (emphasis added).

 II.   LEGAL ARGUMENT

       As explained below, Plaintiff entered into an agreement to arbitrate that was clear and is

binding, and therefore, his refusal to submit his claims to arbitration has no arguable basis in law.

Accordingly, the Court should enforce the agreement by dismissing or staying the case, and award




Program Booklet states, “All references to the ‘Company’ in this booklet refer to the subsidiaries
that employ the individuals working there.” See Exhibit 1, ¶ 5, Exhibit 3 thereto, page 1.
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Defendants’ their attorneys’ fees as a sanction for Plaintiff’s lack of justification for his refusal to

arbitrate.

             A. PUBLIC POLICY FAVORS ENFORCING ARBITRATION
                AGREEMENTS

        The EDR Program Booklet provides that the “application, interpretation and enforcement

of the EDR Program is covered by the Federal Arbitration Act.” Exhibit 1, Exhibit 3 thereto, page

3.

        Congress enacted the Federal Arbitration Act (“FAA”) to reverse decades of judicial

hostility toward arbitration agreements and to place these agreements on the same footing as other

contracts. Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991). Under the FAA,

arbitration is proper when there is a valid written agreement covering the asserted claims. 9 U.S.C.

§ 2. This includes employment arbitration agreements, even where some or all of the claims

themselves arise under state law. Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 119 (2001).

Arbitration clauses “shall be valid, irrevocable, and enforceable, save upon such grounds as exist

at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. “Any doubts concerning the

scope of arbitrable issues should be resolved in favor of arbitration.” Moses H. Cone Mem’l Hosp.

v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983); accord Muriithi v. Shuttle Express, Inc., 712

F.3d 173, 179 (4th Cir. 2013).

        Guided by the FAA, the U.S. Supreme Court has held that arbitration agreements are to be

read liberally to effectuate their purpose (Moses H. Cone Mem’l Hosp., 460 U.S. at 25), and are to

be “rigorously enforced.” Perry v. Thomas, 482 U.S. 483, 490 (1987). The Fourth Circuit has

observed that a “district court . . . has no choice but to grant a motion to compel arbitration where

a valid arbitration exists and the issues in a case fall within its purview.” Adkins v. Labor Ready,

Inc., 303 F.3d 496, 500 (4th Cir. 2002). Indeed, the EDR Program and the Agreement relating

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thereto have previously been found to be valid and enforceable by this Court in the case of

Boettcher v. SSC Glen Burnie Operating Company, LLC, Civil Action No. WMN-15-714, 2016

WL 4395880 (D. Md. Aug. 18, 2016).

        On a motion to compel arbitration, a court considers two key issues: (1) whether the parties

formed a valid and enforceable agreement to arbitrate, and (2) whether the agreement to arbitrate

encompasses the underlying dispute. Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218

(1985); 9 U.S.C. §§ 2, 3. As discussed in further detail below, both of these requirements are

satisfied.

             B. THE PARTIES’ ARBITRATION AGREEMENT IS VALID AND
                ENFORCEABLE

        When evaluating an arbitration agreement, a court must apply state law principles

governing the formation of a contract and the validity of a contract in determining whether an

enforceable arbitration agreement exists. First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938,

943-44 (1995); Muriithi, 712 F.3d at 179; Adkins, 303 F.3d at 501. As set forth below, the

arbitration agreement at issue here constitutes a valid and enforceable contract under Maryland

law.

        Consideration is an essential element of any contract. Holloman v. Circuit City Stores,

Inc., 391 Md. 580, 590 (2006) (In most instances, the determination of a contract’s enforceability

is decided by the existence of consideration.”). In Maryland, mutually binding promises to

arbitrate constitute sufficient consideration to uphold an arbitration agreement. Nowak v. NAHB

Research Ctr., Inc., 157 Md. App. 24, 34 (2004) (“Once the court finds that a mutual exchange of

promises to arbitrate’ exists, ‘its inquiry ceases, as the agreement to arbitrate has been established

as a valid and enforceable contract.’”) (citations omitted). By contrast, where an employer reserves

the right to modify or revoke an arbitration agreement, such as by publishing its arbitration policy

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solely in an employee handbook with a contract disclaimer, there is no consideration – even if the

employer does not exercise that right – because the promise is illusory. Cheek v. United

Healthcare of the Mid-Atlantic, Inc., 378 Md. 139, 147-49 (2003).

       In this case, the EDR Program Booklet unequivocally binds the parties to the dispute

resolution process, which mandates arbitration as the final and exclusive means to resolve disputes.

Nowhere in that Booklet does the employer reserve to itself the right to alter, amend, modify or

revoke this obligation. Indeed, the mutuality of the obligation is repeatedly referenced. Exhibit

1, Exhibit 3 thereto, page 1, paragraph 2 (“If the parties cannot mutually resolve this dispute . . .

the Company has agreed to submit the dispute to an outside, impartial arbitrator and to accept the

decision of the arbitrator as final and binding.”); page 1, paragraph 4 (“Likewise, the Company

agrees to be bound by the EDR Program. This mutual agreement to arbitrate claims means that

both you and the Company are bound to use the EDR Program as the only means of resolving

employment related disputes and to forego any right.”); page 3, paragraph 1 (“The EDR Program

. . . remains in effect for the entire length of your employment and continues in effect should

your employment end.”).

       Accordingly, there is ample consideration for Plaintiff’s agreement to arbitrate his

employment claims, and the Arbitration Agreement is valid and enforceable.

       In addition, Plaintiff twice agreed to arbitration as the sole means of resolving any

employment disputes. He did so when he signed the EDR Employment Agreement before he was

hired and when he signed the Acknowledgment of receipt of the EDR Program Booklet on his date

of hire. Exhibit 1, ¶¶ 3, 4, Exhibits 1 and 2 thereto. Plaintiff’s agreement to these terms as

evidenced by his signature, created an enforceable contract. See, e.g., Holloman, 391 Md. at 595

(holding that the signature on the arbitration agreement signified agreement because “under



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Maryland law, a party who signs a contract is presumed to have read and understood its terms and

as such will be bound by its execution”).

           C. PLAINTIFF’S CLAIMS FALL WITHIN THE SCOPE OF THE
              ARBITRATION AGREEMENT

       The FAA applies an overwhelming presumption of arbitrability. The presumption is

particularly relevant when the arbitration provision is broadly worded to include “any” or “all”

claims. See, e.g., Aggarao v. MOL Ship Management Co., Ltd., 675 F.3d 355, 367-69 (4th Cir.

2011) (“This ‘heavy presumption . . . in favor of arbitrability is particularly applicable [where, as

here,] the arbitration clause is broadly worded.’” (citing Levin v. Alms & Assocs., Inc., 634 F.2d

260, 266-67 (4th Cir. 2011)).

       The Employment Dispute Resolution Program Agreement signed by Plaintiff stated “both

the Facility and I agree to resolve all claims, controversies or disputes relating to my

application for employment, my employment and/or my termination of employment with the

Company exclusively through the Employment Dispute Resolution Program.” Exhibit 1,

Exhibit 1 thereto (emphasis added). Among the non-exclusive list of claims identified by that

document were “claims under federal, state and local statutory, regulatory or common law” and

“claims for public policy violations, and claims under the law of contract and the law of torts.” Id.

Likewise, the EDR Program Booklet itself provided that “both you and the Company are bound to

use the EDR Program as the only means of resolving employment related disputes. . .” Exhibit

1, Exhibit 3 thereto, page 1, paragraph 4 (emphasis added).

       Plaintiff’s claims plainly are employment-related and are within the scope of the arbitration

agreement. Plaintiff alleges claims pertaining to his employment (Counts I and IV) and claims

relating to his termination from employment (Counts II, III, and V). Consequently, Plaintiff must

be compelled to arbitrate all of those claims.

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       D.      DEFENDANTS’ SHOULD BE AWARDED THEIR ATTORNEYS’ FEES AS
               A SANCTION FOR PLAINTIFF’S LACK OF JUSTIFICATION FOR HIS
               REFUSAL TO ARBITRATE

       When a party challenges the fundamental issue of arbitrability, the standard for assessing

its justification is whether it has “any arguable basis in law.” United Food & Commercial Workers,

Local 400 v. Marval Poultry Co., 876 F.2d 346, 351 (4th Cir. 1989); see also Dist. Lodge 4 Int’l

Assoc. of Machinists & Aerospace Workers v. DynCorp Int’l LLC, 651 F. App’x 148, 151 (4th Cir.

2016). Since this challenge goes to the “fundamental question of the arbitrator’s power very power

to act, [it] must be considered sufficiently ‘justified’ for this purpose unless there is literally no

reasonably arguable legal support for [it].” Id. (citing Western Elec. Co. v. Commc’n Equip.

Workers, Inc., 409 F. Supp. 161, 178 (D. Md. 1976)).

       Here, Plaintiff’s challenge to the arbitrability of the agreement lacks any arguable basis in

law because the agreement is clear and binding. See supra Sections II.A-C. On September 22,

2020, Defendants’ counsel sent a letter to Plaintiff’s counsel stating that Plaintiff’s claims are

subject to mandatory arbitration and requested that Plaintiff agree to dismiss his Complaint and go

through the EDR Program. See Exhibit 2, September 22, 2020 Letter. In the letter, Defendants

stated that the agreement had previously been found to be valid and enforceable by this Court in

the case of Boettcher v. SSC Glen Burnie Operating Co., Civil Action No. WMN-15-3714, 2016

WL 4395880 (D. Md. Aug. 18, 2016).2

       In Boettcher, the plaintiff argued that the defendants waived the right to compel arbitration

by failing to respond to the plaintiff’s EDR request. 2016 WL 4395880, at *3. The plaintiff filed

the lawsuit approximately one year after making the EDR request. Id. at *1-2. The Court stated




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  SSC Glen Burnie Operating Company is another operating company affiliated with
Administrative Services, LLC.
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that “[i]n the context of arbitration agreement, ‘waiver of the right to arbitrate cannot be inferred

in the absence of a clear expression of intent.’” Id. at *3 (quoting Charles J. Frank, Inc. v.

Associated Jewish Charities of Balt., Inc., 294 Md. 443, 454 (1982)). The Court further stated that

“[n]either delay nor the filing of pleadings by the party seeking a stay will suffice, without more,

to establish waiver of arbitration.” Id. (quoting MicroStrategy, Inc. v. Lauricia, 268 F.3d 244, 249

(4th Cir. 2001)). The Court granted the defendants’ motion to compel arbitration, finding that the

defendants’ “conduct did not rise to the level necessary for the relinquishment of the right to

arbitrate[,]” and that the defendants “filed a timely motion to compel, and have not utilized the

‘litigation machinery,’ in a way that has prejudiced [p]laintiff.” Id. at *3-4.

       On October 1, 2020, Plaintiff’s counsel sent an email to Defendants’ counsel stating that

Plaintiff would not voluntarily dismiss his Complaint and proceed with arbitration, and that

Plaintiff intended to challenge the validity and/or enforceability of the agreement on the basis that

Defendants’ waived the right to compel arbitration by failing to respond to Plaintiff’s requests to

invoke the EDR Program. See Exhibit 3, October 1, 2020 Email. Plaintiff’s counsel explained

that after Plaintiff’s termination on July 18, 2019, Plaintiff sent a letter to SSC Catonsville on

September 11, 2019 regarding his request to invoke the EDR Program, and on January 24, 2020,

Plaintiff’s counsel sent a letter to SavaSeniorCare Consulting, LLC stating that Plaintiff did not

receive a reply to his letter and that Plaintiff’s counsel would conclude that the EDR Program is

non-existent if no response was received by February 3, 2020. See Exhibit 4, September 11, 2019

Letter; Exhibit 5, January 24, 2020 Letter. Plaintiff’s counsel noted that “nothing has changed in

[the Defendants] lack of responsiveness from the Boettcher case.” Exhibit 3.

       Plaintiff’s reliance on Boettcher case is misplaced. The Boettcher Court did not find that

a delay in the process resulted in a waiver of the defendants’ right to arbitrate. See Boettcher, 2016



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WL 4395880, at *3-4. Here, Defendants’ have filed a timely motion to compel and have not

utilized the “litigation machinery” in a way that has prejudiced Plaintiff. Plaintiff has no basis to

contend otherwise. Accordingly, the Court should award Defendants’ their attorneys’ fees as a

sanction for Plaintiff’s lack of justification for his refusal to arbitrate.

III.    CONCLUSION

        There being no dispute that Plaintiff’s claims are squarely within a valid and enforceable

arbitration agreement, Defendants respectfully request that the Court grant their motion and either

dismiss or stay the case and compel Plaintiff to submit his claims to arbitration. Defendants further

respectfully request that the Court award their attorneys’ fees incurred in connection with this

Motion because Plaintiff lacks justification for his refusal to arbitrate.



Date: October 13, 2020
                                                 Respectfully submitted,

                                                        /s/
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